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                   Instructions for a Prisoner Filing a Civil Rights Complaint
                  in the United States District Court for the District of Arizona

1. Who May Use This Form. The civil rights complaint form is designed to help incarcerated
persons prepare a complaint seeking relief for a violation of their federal civil rights. These
complaints typically concern, but are not limited to, conditions of confinement. This form
should not be used to challenge your conviction or sentence. If you want to challenge a state
conviction or sentence, you should file a petition under 28 U.S.C. ' 2254 for a writ of habeas
corpus by a person in state custody. If you want to challenge a federal conviction or sentence, you
should file a motion under 28 U.S.C. § 2255 to vacate sentence in the federal court that entered the
judgment.

2. The Form. Local Rule of Civil Procedure (LRCiv) 3.4(a) provides that complaints by
incarcerated persons must be filed on the court-approved form. The form must be typed or
neatly handwritten. The form must be completely filled in to the extent applicable. All questions
must be answered clearly and concisely in the appropriate space on the form. If needed, you may
attach additional pages, but no more than fifteen additional pages, of standard letter-sized
paper. You must identify which part of the complaint is being continued and number all pages. If
you do not fill out the form properly, you will be asked to submit additional or corrected
information, which may delay the processing of your action. You do not need to cite law.

3. Your Signature. You must tell the truth and sign the form. If you make a false statement of a
material fact, you may be prosecuted for perjury.

4. The Filing and Administrative Fees. The total fees for this action are $400.00 ($350.00 filing
fee plus $50.00 administrative fee). If you are unable to immediately pay the fees, you may
request leave to proceed in forma pauperis. Please review the “Information for Prisoners Seeking
Leave to Proceed with a (Non-Habeas) Civil Action in Federal Court In Forma Pauperis Pursuant
to 28 U.S.C. ' 1915” for additional instructions.

5. Original and Judge=s Copy. You must send an original plus one copy of your complaint and
of any other documents submitted to the Court. You must send one additional copy to the Court if
you wish to have a file-stamped copy of the document returned to you. All copies must be
identical to the original. Copies may be legibly handwritten. This section does not apply to
inmates housed at an Arizona Department of Corrections facility that participates in
electronic filing.

6. Where to File. You should file your complaint in the division where you were confined
when your rights were allegedly violated. See LRCiv 5.1(a) and 77.1(a). If you were confined
in Maricopa, Pinal, Yuma, La Paz, or Gila County, file in the Phoenix Division. If you were
confined in Apache, Navajo, Coconino, Mohave, or Yavapai County, file in the Prescott Division.
If you were confined in Pima, Cochise, Santa Cruz, Graham, or Greenlee County, file in the
Tucson Division. Mail the original and one copy of the complaint with the $400 filing and
administrative fees or the application to proceed in forma pauperis to:


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       Phoenix & Prescott Divisions:             OR           Tucson Division:
       U.S. District Court Clerk                              U.S. District Court Clerk
       U.S. Courthouse, Suite 130                             U.S. Courthouse, Suite 1500
       401 West Washington Street, SPC 10                     405 West Congress Street
       Phoenix, Arizona 85003-2119                            Tucson, Arizona 85701-5010

7. Change of Address. You must immediately notify the Court and the defendants in writing of
any change in your mailing address. Failure to notify the Court of any change in your mailing
address may result in the dismissal of your case.

8. Certificate of Service. You must furnish the defendants with a copy of any document you
submit to the Court (except the initial complaint and application to proceed in forma pauperis).
Each original document (except the initial complaint and application to proceed in forma pauperis)
must include a certificate of service on the last page of the document stating the date a copy of the
document was mailed to the defendants and the address to which it was mailed. See Fed. R. Civ.
P. 5(a), (d). Any document received by the Court that does not include a certificate of service
may be stricken. This section does not apply to inmates housed at an Arizona Department of
Corrections facility that participates in electronic filing.
    A certificate of service should be in the following form:

       I hereby certify that a copy of the foregoing document was mailed
       this                                     (month, day, year) to:
       Name:
       Address:
                      Attorney for Defendant(s)

       (Signature)

9. Amended Complaint. If you need to change any of the information in the initial complaint,
you must file an amended complaint. The amended complaint must be written on the
court-approved civil rights complaint form. You may file one amended complaint without leave
(permission) of Court within 21 days after serving it or within 21 days after any defendant has filed
an answer, whichever is earlier. See Fed. R. Civ. P. 15(a). Thereafter, you must file a motion for
leave to amend and lodge (submit) a proposed amended complaint. LRCiv 15.1. In addition, an
amended complaint may not incorporate by reference any part of your prior complaint. LRCiv
15.1(a)(2). Any allegations or defendants not included in the amended complaint are
considered dismissed. All amended complaints are subject to screening under the Prison
Litigation Reform Act; screening your amendment will take additional processing time.

10. Exhibits. You should not submit exhibits with the complaint or amended complaint.
Instead, the relevant information should be paraphrased. You should keep the exhibits to use to
support or oppose a motion to dismiss, a motion for summary judgment, or at trial.

11. Letters and Motions. It is generally inappropriate to write a letter to any judge or the staff of
any judge. The only appropriate way to communicate with the Court is by filing a written
pleading or motion.

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12. Completing the Civil Rights Complaint Form.

HEADING:
    1. Your Name. Print your name, prison or inmate number, and institutional mailing
    address on the lines provided.

       2. Defendants. If there are four or fewer defendants, print the name of each. If you
       name more than four defendants, print the name of the first defendant on the first line,
       write the words “and others” on the second line, and attach an additional page listing the
       names of all of the defendants. Insert the additional page after page 1 and number it
       “1-A” at the bottom.

       3. Jury Demand. If you want a jury trial, you must write “JURY TRIAL DEMANDED”
       in the space below “CIVIL RIGHTS COMPLAINT BY A PRISONER.” Failure to do so
       may result in the loss of the right to a jury trial. A jury trial is not available if you are
       seeking only injunctive relief.

Part A. JURISDICTION:
       1. Nature of Suit. Mark whether you are filing the complaint pursuant to 42 U.S.C. ' 1983
       for state, county, or city defendants; “Bivens v. Six Unknown Federal Narcotics Agents”
       for federal defendants; or “other.” If you mark “other,” identify the source of that
       authority.

       2. Location. Identify the institution and city where the alleged violation of your rights
       occurred.

       3. Defendants. Print all of the requested information about each of the defendants in the
       spaces provided. If you are naming more than four defendants, you must provide the
       necessary information about each additional defendant on separate pages labeled “2-A,”
       “2-B,” etc., at the bottom. Insert the additional page(s) immediately behind page 2.

Part B. PREVIOUS LAWSUITS:
        You must identify any other lawsuit you have filed in either state or federal court while you
were a prisoner. Print all of the requested information about each lawsuit in the spaces provided.
If you have filed more than three lawsuits, you must provide the necessary information about each
additional lawsuit on a separate page. Label the page(s) as “2-A,” “2-B,” etc., at the bottom of the
page and insert the additional page(s) immediately behind page 2.

Part C. CAUSE OF ACTION:
        You must identify what rights each defendant violated. The form provides space to allege
three separate counts (one violation per count). If you are alleging more than three counts, you
must provide the necessary information about each additional count on a separate page. Number
the additional pages “5-A,” “5-B,” etc., and insert them immediately behind page 5. Remember
that you are limited to a total of fifteen additional pages.

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       1. Counts. You must identify which civil right was violated. You may allege the
       violation of only one civil right per count.

       2. Issue Involved. Check the box that most closely identifies the issue involved in your
       claim. You may check only one box per count. If you check the box marked “Other,”
       you must identify the specific issue involved.

       3. Supporting Facts. After you have identified which civil right was violated, you must
       state the supporting facts. Be as specific as possible. You must state what each
       individual defendant did to violate your rights. If there is more than one defendant, you
       must identify which defendant did what act. You also should state the date(s) on which
       the act(s) occurred, if possible.

       4. Injury. State precisely how you were injured by the alleged violation of your rights.

       5. Administrative Remedies. You must exhaust any available administrative remedies
       before you file a civil rights complaint. See 42 U.S.C. § 1997e. Consequently, you
       should disclose whether you have exhausted the inmate grievance procedures or
       administrative appeals for each count in your complaint. If the grievance procedures were
       not available for any of your counts, fully explain why on the lines provided.

Part D. REQUEST FOR RELIEF:
       Print the relief you are seeking in the space provided.

SIGNATURE:
        You must sign your name and print the date you signed the complaint. Failure to sign the
complaint will delay the processing of your action. Unless you are an attorney, you may not bring
an action on behalf of anyone but yourself.


                                         FINAL NOTE

        You should follow these instructions carefully. Failure to do so may result in your
complaint being stricken or dismissed. All questions must be answered concisely in the proper
space on the form. If you need more space, you may attach no more than fifteen additional pages.
But the form must be completely filled in to the extent applicable. If you attach additional pages,
be sure to identify which section of the complaint is being continued and number the pages.




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___________________________________________
Name and Prisoner/Booking Number

___________________________________________
Place of Confinement

___________________________________________
Mailing Address

___________________________________________
City, State, Zip Code

(Failure to notify the Court of your change of address may result in dismissal of this action.)




                                      IN THE UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF ARIZONA

_________________________________________ ,
(Full Name of Plaintiff)
                                                                               )
                                Plaintiff,
v.                                                                                 CASE NO. __________________________________
                                                                                               (To be supplied by the Clerk)
(1) _______________________________________ ,
(Full Name of Defendant)
                                                                                        CIVIL RIGHTS COMPLAINT
(2) _______________________________________ ,                                                BY A PRISONER

(3) _______________________________________ ,
                                                                                    G Original Complaint
(4) _______________________________________ ,                                       G First Amended Complaint
                                                                                    G Second Amended Complaint
                                Defendant(s).
G Check if there are additional Defendants and attach page 1-A listing them.


                                                                 A. JURISDICTION

1.     This Court has jurisdiction over this action pursuant to:
            G 28 U.S.C. § 1343(a); 42 U.S.C. § 1983
            G 28 U.S.C. § 1331; Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971).
            G Other:                                                                                                        .

2.     Institution/city where violation occurred:                                                                           .



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                                                        B. DEFENDANTS

1. Name of first Defendant:                                    . The first Defendant is employed
as: ______________________________________________ at_______________________________________.
                              (Position and Title)                                                     (Institution)


2. Name of second Defendant:                             . The second Defendant is employed as:
as: ______________________________________________ at_______________________________________.
                              (Position and Title)                                                     (Institution)


3. Name of third Defendant:                                   . The third Defendant is employed
as: ______________________________________________ at_______________________________________.
                              (Position and Title)                                                     (Institution)


4. Name of fourth Defendant:                                  . The fourth Defendant is employed
as: ______________________________________________ at_______________________________________.
                              (Position and Title)                                                     (Institution)


If you name more than four Defendants, answer the questions listed above for each additional Defendant on a separate page.

                                                     C. PREVIOUS LAWSUITS

1.    Have you filed any other lawsuits while you were a prisoner?                         G Yes               G No
2.    If yes, how many lawsuits have you filed?                        . Describe the previous lawsuits:

      a. First prior lawsuit:
          1. Parties:                                  v.
          2. Court and case number:                                                                                          .
          3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)
                                                                                                                             .

      b. Second prior lawsuit:
          1. Parties:                                  v.
          2. Court and case number:                                                                                          .
          3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)
                                                                                                                             .

      c. Third prior lawsuit:
          1. Parties:                                  v.
          2. Court and case number:                                                                                          .
          3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)
                                                                                                                             .

If you filed more than three lawsuits, answer the questions listed above for each additional lawsuit on a separate page.


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                                            D. CAUSE OF ACTION

                                                       COUNT I
1.   State the constitutional or other federal civil right that was violated:
                                                                                                                 .

2.   Count I. Identify the issue involved. Check only one. State additional issues in separate counts.
     G Basic necessities               G Mail            G Access to the court          G Medical care
     G Disciplinary proceedings        G Property        G Exercise of religion         G Retaliation
     G Excessive force by an officer G Threat to safety G Other:                                                 .

3. Supporting Facts. State as briefly as possible the FACTS supporting Count I. Describe exactly what
each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or arguments.




                                                                                                                 .

4.   Injury. State how you were injured by the actions or inactions of the Defendant(s).


                                                                                                                 .

5.   Administrative Remedies:
     a. Are there any administrative remedies (grievance procedures or administrative appeals) available at
        your institution?                                                                        G Yes      G No
     b. Did you submit a request for administrative relief on Count I?                           G Yes      G No
     c. Did you appeal your request for relief on Count I to the highest level?                  G Yes      G No
     d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
        did not.
                                                                                                                 .



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                                                      COUNT II
1.   State the constitutional or other federal civil right that was violated:
                                                                                                                 .

2.   Count II. Identify the issue involved. Check only one. State additional issues in separate counts.
     G Basic necessities               G Mail            G Access to the court          G Medical care
     G Disciplinary proceedings        G Property        G Exercise of religion         G Retaliation
     G Excessive force by an officer G Threat to safety G Other:                                                 .

3. Supporting Facts. State as briefly as possible the FACTS supporting Count II. Describe exactly what
each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or arguments.




                                                                                                                 .

4.   Injury. State how you were injured by the actions or inactions of the Defendant(s).


                                                                                                                 .

5.   Administrative Remedies.
     a. Are there any administrative remedies (grievance procedures or administrative appeals) available at
        your institution?                                                                        G Yes      G No
     b. Did you submit a request for administrative relief on Count II?                          G Yes      G No
     c. Did you appeal your request for relief on Count II to the highest level?                 G Yes      G No
     d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
        did not.
                                                                                                                 .



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                                                     COUNT III
1.   State the constitutional or other federal civil right that was violated:
                                                                                                                        .

2.   Count III. Identify the issue involved. Check only one. State additional issues in separate counts.
     G Basic necessities               G Mail            G Access to the court          G Medical care
     G Disciplinary proceedings        G Property        G Exercise of religion         G Retaliation
     G Excessive force by an officer G Threat to safety G Other:                                                        .

3. Supporting Facts. State as briefly as possible the FACTS supporting Count III. Describe exactly what
each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or arguments.




                                                                                                                        .

4.   Injury. State how you were injured by the actions or inactions of the Defendant(s).


                                                                                                                        .

5.   Administrative Remedies.
     a. Are there any administrative remedies (grievance procedures or administrative appeals) available at
        your institution?                                                                        G Yes      G No
     b. Did you submit a request for administrative relief on Count III?                         G Yes      G No
     c. Did you appeal your request for relief on Count III to the highest level?                G Yes      G No
     d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
        did not.
                                                                                                                .

If you assert more than three Counts, answer the questions listed above for each additional Count on a separate page.




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                                         E. REQUEST FOR RELIEF

State the relief you are seeking:




                                                                                                                .


I declare under penalty of perjury that the foregoing is true and correct.

Executed on
                          DATE                                               SIGNATURE OF PLAINTIFF



___________________________________________
(Name and title of paralegal, legal assistant, or
other person who helped prepare this complaint)


___________________________________________
(Signature of attorney, if any)



___________________________________________
(Attorney=s address & telephone number)


                                             ADDITIONAL PAGES

All questions must be answered concisely in the proper space on the form. If you need more space, you may
attach no more than fifteen additional pages. But the form must be completely filled in to the extent applicable.
If you attach additional pages, be sure to identify which section of the complaint is being continued and number
all pages.




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